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                     IN THE UNITED STATES DISTRICT COURT FOR
                        THE SOUTHERN DISTRICT OF FLORIDA


   RUBEN BELLO,                                         Case No.: 22-cv-23005-DPG

                   Plaintiff,

           vs.

   DHL EXPRESS (USA), INC.,
   a Florida Company,

                   Defendant.


  PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
  DEFENDANT’S DAUBERT MOTION AND MOTION FOR SUMMARY JUDGEMENT


         Plaintiff, Ruben Bello (“Plaintiff”) respectfully requests this Honorable Court to grant a

  brief extension of time in order to prepare and file his responses to Defendant’s, DHL Express

  (USA), Inc. (“Defendant”), Motion for Summary Judgement [D.E. 32] and Motion to Exclude the

  Testimony of Treating Physician Dr. Priscilla Borrego (“Daubert Motion”) [D.E. 34], and in

  support thereof, states, as follows:

                                     PROCEDURAL HISTORY

         1.      On July 7, 2023, Defendant filed both its Motion for Summary judgement [D.E.

    32] and Daubert Motion to Exclude the Testimony of Dr. Priscilla Borrego [D.E. 34].

          2.     Plaintiff’s responses to both motions are due on July 21, 2023.

          3.     However, on July 14, 2023, Plaintiff submitted a Motion to Continue Summary

    Judgement and Trial to Allow Plaintiff to Conduct Discovery on Defendant’s Newly Amended

    Answer and Affirmative Defenses [D.E. 39], which has yet to be heard by the Court.
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          4.     Additionally, on the same day, July 14, 2023, Plaintiff also filed its Unopposed

   Motion for Hearing to Schedule a Status Conference [D.E. 40], in light of the recent activity on

   the docket.

          5.     On July 16, 2023, the Court entered an Order setting the status conference for July

   26, 2023, at 10:00 a.m. [D.E. 41].

          6.     Given that the status conference is set after the deadline for Plaintiff to provide his

   responses to Defendant’s Motions, and considering Plaintiff’s Motion to Continue, Plaintiff

   respectfully requests this Court to grant an extension through August 11, 2023, to provide his

   responses to the two pending motions [D.E. 32, and D.E. 34].

          7.     Prior to the filing of this Motion, undersigned conferred with counsel for

   Defendant. Defendant’s counsel has no objection to the relief sought in this Motion, if Defendant

   is provided with an extension of up to two (2) weeks, if needed, to reply to Plaintiff’s responses.

          8.     Undersigned counsel represents that this Motion is made in good faith and is not

   presented for the purpose of delay.

         WHEREFORE, based on the foregoing, Plaintiff respectfully requests the Court to grant

  an extension of time through August 11, 2023, for Plaintiff to respond to Defendant’s Daubert

  Motion and Motion for Summary Judgement, and for such further relief this Court deems just and

  proper. A proposed Order is attached for the Court’s consideration.

         Respectfully Submitted on this 18th day of July 2023.

                                                        By: /s/ Henry Hernandez
                                                        Henry Hernandez, Esq.

                                                        By: /s/ Monica Espino
                                                        Monica Espino, Esq.
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                                   CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  filed with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being

  served in the manner specified, either via transmission of Notices of Electronic filing generated by

  CM/ECF or in some other authorized manner for those counselor parties who are not authorized

  to receive electronically Notices of Electronic Filing, this 18th day of July 2023.



                                                        By: /s/ Henry Hernandez
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